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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

DANIEL LUGO,

             Plaintiff,
v.
                                                           CASE NO.

COPLEY HOUSE, INC.,

          Defendant.
_________________________________/

                                   COMPLAINT

      Plaintiff, Daniel Lugo, by and through his undersigned counsel,

hereby sues the Defendant, COPLEY HOUSE, INC., for injunctive relief

pursuant to the Americans With Disabilities Act, 42 U.S.C. §12181, et seq. (the

"ADA") and the Massachusetts Public Accommodations Act, Mass. Gen. Laws. ch.

272 §§92A and 98 and for damages pursuant to the Massachusetts Public

Accommodations Act, Mass. Gen. Laws. ch. 272 §§92A and 98 and in support

thereof states as follows:

                                 JURISDICTION

          1. This court has subject-matter jurisdiction since this action arises

pursuant to 28 U.S.C. § 1331 and §1343 and Plaintiff’s claims arise under 42

U.S.C. §12181 et seq. based upon Defendant’s violations of Title III of the ADA.
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This Court also has supplemental jurisdiction over the state law claims at issue

pursuant to 28 U.S.C. §1367.

                                          VENUE

           2.   Venue lies in this judicial district pursuant to 28 U.S.C. § 1391(b)

(2) because Defendant is a resident of this district and the facility, whose online

reservation system is at issue herein, is situated in this district.

                                       PARTIES

           3.   Plaintiff, Daniel Lugo, is an individual who is over eighteen years of

age and sui juris. Plaintiff is disabled as such term is defined by the ADA and is

substantially limited in performing one or more major life activities (walking) due

to permanent damage to his spinal cord as a result of a broken neck caused by a

motor vehicle accident. Plaintiff must always use a wheelchair to ambulate.

Plaintiff also has limited use of his hands and fingers. The online hotel reservation

system for Defendant's hotel, as well as a third party reservations service that

provides the public with the ability to reserve a room at Defendant’s hotel, fail to

comply with any of the requirements of 28 C.F.R. §36.302(e) and therefore

Plaintiff's full and equal enjoyment of the goods, services, facilities, privileges,

advantages and/or accommodations offered thereon are restricted and limited

because of Plaintiff’s disability and will be restricted in the future unless and until

Defendant is compelled to comply with the ADA’s requirements with regard to the



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online reservations services providing for reserving rooms at Defendant’s hotel.

Plaintiff intends to visit the online reservation services described herein in the near

future, and within thirty (30) days, to test the online reservation services for

compliance with 28 C.F.R. §36.302(e).

         4. Defendant is the owner and/or operator of Copley House located at

239 West Newton in Boston, Ma. ("the Copley"). The online reservation system

for the Copley is found at copleyhouse.com. A third party reservation service

which provides for the reserving of rooms at the Copley (which does not provide

for the reserving of rooms that are identified or described as accessible and which

does not describe the accessible or inaccessible features within the common areas

of the Copley) is booking.com, ("the Third Party Reservations Service"). The

Copley's reservation system and the Third Party Reservations Service are

collectively referred to herein as the "Reservations Services".

         5. On July 26, 1990, Congress enacted the ADA explaining that the

purpose of the ADA was to provide a clear and comprehensive national mandate

for the elimination of discrimination against individuals with disabilities and to

provide clear, strong, consistent, enforceable standards addressing said

discrimination, invoking the sweep of congressional authority in order to address

the major areas of discrimination faced day-to-day by people with disabilities to




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ensure that the Federal government plays a central role in enforcing the standards

set by the ADA. (42 U.S.C. § 12101(b)(1)-(4)).

            6. Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15,

2010, the Department of Justice, Office of the Attorney General, published revised

regulations for Title III of the Americans With Disabilities Act of 1990 in the

Federal Register to implement the requirements of the ADA. Public

accommodations, including places of lodging, were required to conform to these

regulations on or before March 15, 2012.

            7. On March 15, 2012, new regulations implementing Title III of the

ADA took effect, imposing significant new obligations on inns, motels, hotels and

other "places of lodging". 28 C.F.R. §36.302(e) states:

       ''(1) Reservations made by places of lodging. A public accommodation that
owns, leases (or leases to), or operates a place of lodging shall, with respect to
reservations made by any means, including by telephone, in-person, or through a
third party -
(i) Modify its policies, practices, or procedures to ensure that individuals with
disabilities can make reservations for accessible guest rooms during the same hours
and in the same manner as individuals who do not need accessible rooms;
(ii) Identify and describe accessible features in the hotels and guest rooms offered
through its reservations service in enough detail to reasonably
permit individuals with disabilities to assess independently whether a given hotel
or guest room meets his or her accessibility needs;1

1 The United States Department of Justice, in "28 C.F.R. Appendix A to Part 36, Guidance on Revisions to ADA
Regulation on Nondiscrimination on the Basis of Disability by Public Accommodations and Commercial Facilities",
provides a section-by-section analysis of 28 C.F.R. §36.302(e)(1). In its analysis and guidance, the Department of
Justice's official comments state that "information about the Hotel should include, at a minimum, information about
accessible entrances to the hotel, the path of travel to guest check-in and other essential services, and the accessible
route to the accessible room or rooms. In addition to the room information described above, these hotels should



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(iii) Ensure that accessible guest rooms are held for use by individuals with
disabilities until all other guest rooms of that type have been rented and the
accessible room requested is the only remaining room of that type;
(iv) Reserve, upon request, accessible guest rooms or specific types of guest rooms
and ensure that the guest rooms requested are blocked and removed from all
reservations systems; and
(v) Guarantee that the specific accessible guest room reserved through its
reservations service is held for the reserving customer, regardless of whether a
specific room is held in response to reservations made by others."
            8. The DOJ Official Comments to 28 C.F.R.§ 36.302(e) (1) specifically

address the common use of third party reservations services in the hotel industry

and the hotel industry’s attempts to exclude such sites from the requirements of the

regulation. In rejecting this request, the DOJ, in the DOJ Official Comments,

states as follows:

         “Hotels and organizations commenting on their behalf also requested that
         the language be changed to eliminate any liability for reservations made
         through third parties, arguing that they are unable to control the actions of
         unrelated parties. The rule, both as proposed and as adopted, requires
         covered public accommodations to ensure that reservations made on their
         behalf by third parties are made in a manner that results in parity between
         those who need accessible rooms and those who do not.”

             9. The Copley is a place of public accommodation that owns and/or

leases and operates a place of lodging pursuant to the ADA. The Reservations

Services enable members of the public to reserve a guest room at the Copley. The




provide information about important features that do not comply with the 1991 Standards." An agency's
interpretation of its own regulations, such as the Department of Justice's interpretation of 28 C.F.R. §36.302(e)(1),
must be given "substantial deference" and "controlling weight" unless it is "plainly erroneous or inconsistent with
the regulation." Thomas Jefferson Univ. v. Shalala, 512 U.S. 504, 512, 114 S.Ct. 2381, 129 L.Ed.2d 405 (1994).


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Reservation Services are subject to the requirements of 28 C.F.R.§ 36.302(e) and

Defendant is responsible for said compliance.

          10. Most recently, during April, 2023 Plaintiff attempted to specifically

identify and book a guaranteed reservation for an accessible hotel room at the

Copley from the Reservation Services but was unable to do so due to the failure of

these services to comply with the requirements set forth in paragraph 7.

          11. Plaintiff is an advocate of the rights of similarly situated disabled

persons and, pursuant to Suarez-Torres v. Panaderia y Resposteria Espana, Inc.,

988 F.3d 542, 550 (1st Cir. 2021) and Laufer v. Acheson Hotels, LLC, 50 F.4th 259

(1st Cir. 2022), is a "tester" for the purpose of asserting his civil rights, monitoring,

ensuring, and determining whether places of public accommodation, including

online reservation systems for places of lodging, are in compliance with the ADA.

          12. Defendant has discriminated against Plaintiff by denying him access

to and full and equal enjoyment of the goods, services, facilities, privileges,

advantages and accommodations offered at the Copley through the Reservation

Services due to the substantive ADA violations contained thereon.

                              COUNT I
          CLAIM FOR INJUNCTIVE RELIEF PURSUANT TO THE ADA
               THE COPLEY'S RESERVATION SYSTEM

          13.    Plaintiff realleges and incorporates paragraphs 1 through 12 above

herein.



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    14. The online reservation system for the Copley encountered by Plaintiff

when he visited it failed to comply with the requirements of 28 C.F.R.§

36.302(e)(1). When Plaintiff visited the Copley's online reservation system, he

tried to make reservations for an accessible hotel room at the Copley, since he

requires an accessible hotel room due to his inability to walk, but it was not

possible to make such a reservation. It was possible to reserve a hotel room that

was not accessible. For this reason Defendant has no policy, practice, or procedure

in place to ensure that individuals with disabilities can make reservations for

accessible hotel rooms during the same hours and in the same manner as

individuals who do not need accessible hotel rooms. This constitutes a violation of

28 C.F.R.§ 36.302(e)(1)(i). When Plaintiff visited the Copley's online reservation

system, he searched the site for the identification and descriptions of accessible

features at the Copley and hotel rooms offered through the online reservation

service so that he could assess independently whether the Copley or a specific

hotel room at the Copley met his accessibility needs in light of his disability but the

reservation service contained no such descriptions at all. This constitutes a

violation of 28 C.F.R.§ 36.302(e)(1)(ii). In light of the foregoing, Defendant also

necessarily violated 28 C.F.R. §36.302(e)(1)(iii)-(v) in that since the online

reservation service does not describe any accessible hotel room and does not, in

turn, allow the reserving of such accessible hotel room, the reservation service



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cannot hold such unavailable accessible hotel room in the reservation system until

all other units have been rented, block such unavailable accessible hotel room from

the system once reserved, and guaranty that such unavailable accessible hotel room

will be held for the reserving customer as required by sections (iii) - (v)

respectively.

     15. Plaintiff is without an adequate remedy at law and is suffering

irreparable harm and he reasonably anticipates that he will continue to suffer

irreparable harm unless and until Defendant is required to correct the ADA

violations to the online reservation system for the Copley and maintain the online

reservation system and accompanying policies in a manner that is consistent with

and compliant with the requirements of 28 C.F.R. §36.302(e).

      16. Plaintiff has retained the undersigned counsel for the filing and

prosecution of this action and is entitled to recover reasonable attorneys’ fees, costs

and expenses from Defendant, including litigation expenses and costs pursuant to

42 U.S.C. §12205.

     17. Pursuant to 42 U.S.C. § 12188(a), this Court is provided with authority

to grant injunctive relief to Plaintiff, including an Order compelling Defendant to

implement policies, consistent with the ADA, to accommodate the disabled, by




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requiring Defendant to alter and maintain their online reservation system in

accordance with the requirements set forth in paragraph 7 above.2

         WHEREFORE, Plaintiff, Daniel Lugo, requests that the Court issue a

permanent injunction enjoining Defendant from continuing its discriminatory

practices, ordering Defendant to implement policies, consistent with the ADA, to

accommodate the disabled, through requiring Defendant to alter and maintain the

online reservation system in accordance with the requirements set forth in

paragraph 7 above, and awarding Plaintiff reasonable attorneys’ fees, litigation

expenses, including expert fees, and costs.

COUNT II-CLAIM FOR INJUNCTIVE RELIEF PURSUANT TO THE ADA
          THE THIRD PARTY RESERVATION SERVICE

          18. Plaintiff realleges and incorporates paragraphs 1 through 12 above

herein.

          19. The ADA violations for the Third Party Reservations Service consist

of the following:

         a)       A failure of any policy, practice, or procedure ensuring that
                  individuals with disabilities can make reservations for accessible guest


2 The injunction, to be meaningful and fulfill its intended purpose, should require Defendant to develop, and strictly
enforce, a policy requiring regular monitoring of its online reservation system. As rates and classes of the places of
lodging at the Copley and the number and type of rooms, beds, accommodations and amenities offered in the
various unit types change from time to time, the availability of accessible units must be re-dispersed across these
various price points, classes, as well as across units with disparate features (2010 ADA Standard 224.5). In light of
the foregoing, in addition to regular ongoing website maintenance and to reflect physical changes at the Copley, the
online reservation system must continuously be updated to properly reflect and describe Defendant’ compliance
with the substantive ADA Standards regarding accessible places of lodging in accordance with 28 C.F.R.
36.302(e)(1).


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              rooms during the same hours and in the same manner as individuals
              who do not need accessible rooms; and

      b)      A failure to identify and describe accessible features in the hotel and
              guest rooms offered through the reservations service in enough detail
              to reasonably permit individuals with disabilities to assess
              independently whether the hotel or specific guest rooms meets his or
              her accessibility needs.
.
      20.     Plaintiff is without an adequate remedy at law and is suffering

irreparable harm and he reasonably anticipates that he will continue to suffer

irreparable harm unless and until Defendant enacts appropriate policies and makes

reasonable efforts to make accessible rooms available through the Third Party

Reservation Service and provides this service with information concerning the

accessible and inaccessible features of the Copley and accessible rooms such that

the operator of the service is able to correct the ADA violations on the system and

maintain it, as to the Copley, in a manner that is consistent with and compliant with

the requirements of 28 C.F.R. §36.302(e).

        21.      Plaintiff has retained the undersigned counsel for the filing and

prosecution of this action and is entitled to recover reasonable attorneys’ fees, costs

and expenses from Defendant, including litigation expenses and costs pursuant to

42 U.S.C. §12205.

        22. Pursuant to 42 U.S.C. § 12188(a), this Court is provided with

authority to grant injunctive relief to Plaintiff, including an Order compelling



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Defendant to implement policies, consistent with the ADA, to accommodate the

disabled in accordance with the requirements set forth in paragraph 7 above.3

         WHEREFORE, Plaintiff, Daniel Lugo, requests that the Court issue a

permanent injunction enjoining Defendant from continuing its discriminatory

practices, ordering Defendant to implement policies, consistent with the ADA, to

accommodate the disabled, and to make reasonable efforts to have accessible

rooms available for reserving through the Third Party Reservation Service by

providing this service with information concerning the accessible and inaccessible

features of the Copley and accessible rooms such that the operator of this site is

able to correct the ADA violations on the site and maintain them, as to the Copley,

in a manner that is consistent with and compliant with the requirements of 28

C.F.R. §36.302(e), and awarding Plaintiff reasonable attorneys’ fees, litigation

expenses, including expert fees and costs.




3 The injunction, to be meaningful and fulfill its intended purpose, should require Defendant to develop, and strictly
enforce, a policy requiring regular monitoring of the online reservation service. As rates and classes of rooms
change at the Copley, and the number and type of beds, accommodations and amenities offered in the various room
types change from time to time, the availability of accessible rooms must be re-dispersed across these various price
points, classes, as well as across rooms with disparate features (2010 ADA Standard 224.5). In light of the
foregoing, to reflect physical changes at the Copley, the Reservations Service must continuously be updated to
properly reflect and describe Defendant’ compliance with the substantive ADA Standards regarding accessible hotel
rooms in accordance with 28 C.F.R. 36.302(e)(1), which can only be accomplished with Defendant’ cooperation and
participation with this Reservation Service.



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                             COUNT III
          CLAIM FOR DAMAGES AND INJUNCTIVE RELIEF PURSUANT
          TO THE MASSACHUSETTS PUBLIC ACCOMMODATIONS ACT

          23.     Plaintiff realleges and incorporates paragraphs 1-12, 14 and 19 above

herein.

          24.     Plaintiff is a physically disabled individual, is a qualified individual

under the Massachusetts Public Accommodation Laws and is a member of a

protected class under Mass. Gen. Laws. ch. 272, §§92A and 98.4

          25.     Plaintiff was denied participation and benefits in Defendant’s

services, programs, and activities and was otherwise discriminated against by

Defendant when he was unable to book, hold and reserve an accessible place of

lodging at Defendant’s facility and was unable to learn about the accessible and

inaccessible features of Defendant’s facility so that he could determine whether

Defendant’s facility was usable by him.

          26.     Plaintiff was denied participation and benefits in Defendant’s

services, programs and activities and experienced discrimination because he is a

physically disabled person.




4Pursuant to Peters v. Boston Props, 2021 Mass. Super. LEXIS 373*; 2021 WL 3493907 and Capodicasa v. Town
of Ware, 2018 U.S. Dist. LEXIS 139786*, Plaintiff is not required to proceed first before the Massachusetts
Commission Against Discrimination and exhaust his administrative remedies when alleging discrimination in a
place of public accommodation.


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          27. Plaintiff has retained the undersigned counsel for the filing and

prosecution of this action and is entitled to recover reasonable attorneys’ fees, costs

and expenses from Defendant, pursuant to Mass. Gen. Laws. ch. 151B, §§5 and 9.

          28. Pursuant to Mass. Gen. Laws. ch. 151B, §§5 and 9, this Court is

provided with authority to grant injunctive relief and damages to Plaintiff,

including an Order compelling Defendant to implement policies to accommodate

the disabled, by requiring Defendant to alter and maintain its online reservations

system in accordance with the requirements set forth in paragraph 7 above.5

         WHEREFORE, Plaintiff, Daniel Lugo, requests that the Court issue a

permanent injunction enjoining Defendant from continuing its discriminatory

practices, ordering Defendant to implement policies to accommodate the disabled,

through requiring Defendant to alter and maintain the online reservations systems

for the Copley in accordance with the requirements set forth in paragraph 7 above,




5 The injunction, to be meaningful and fulfill its intended purpose, should require Defendant to develop, and strictly
enforce, a policy requiring regular monitoring of the online reservation system. As rates and classes of the places of
lodging at the Copley and the number and type of rooms, beds, accommodations and amenities offered in the
various unit types change from time to time, the availability of accessible units must be re-dispersed across these
various price points, classes, as well as across units with disparate features. In light of the foregoing, in addition to
regular ongoing website maintenance and to reflect physical changes at the Copley, the online reservation system
must continuously be updated to properly reflect and describe Defendant’ accessible places of lodging.


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and awarding Plaintiff damages, reasonable attorneys’ fees, litigation expenses,

including expert fees, and costs.

                                             s/Lee D. Sarkin
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